Filed 8/27/24 P. v. Carbajal CA2/5
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
not certified for publication or ordered published, except as specified by rule 8.1115(b). This opinion
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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                        DIVISION FIVE


THE PEOPLE,                                                  B329953

         Plaintiff and Respondent,                           (Los Angeles County
                                                             Super. Ct. No. TA056927)
         v.

ALBERTO HERNANDEZ
CARBAJAL,

         Defendant and Appellant.


      APPEAL from a postjudgment order of the Superior Court
of Los Angeles County, John J. Lonergan, Jr., Judge. Reversed.
      Jonathan E. Demson, under appointment by the Court of
Appeal, for Defendant and Appellant.
      Rob Bonta, Attorney General, Lance E. Winters, Chief
Assistant Attorney General, Susan Sullivan Pithey, Senior
Assistant Attorney General, Stephanie C. Brenan, and Gabriel
Bradley, Deputy Attorneys General, for Plaintiff and Respondent.
                    I.     INTRODUCTION

      Defendant Alberto Hernandez Carbajal appeals from an
order denying his petition for resentencing pursuant to Penal
Code section 1172.6,1 arguing that the trial court improperly
relied upon the preliminary hearing transcript in finding him
ineligible for resentencing as a matter of law. We reverse.

                     II.   BACKGROUND

A.    Underlying Conviction

      On October 3, 2002, the Los Angeles County District
Attorney (District Attorney) filed an information charging
defendant with murdering Onell Padilla (§ 187, subd. (a); count
1). The District Attorney also alleged that defendant personally
and intentionally discharged a firearm which caused great bodily
injury or death (§ 12022.53, subd. (d)).
      On January 14, 2003, at a change of plea hearing,
defendant pleaded guilty to second degree murder, and the
District Attorney moved to dismiss the firearm enhancement.
The trial court sentenced defendant to 15 years to life in prison.




1      Further statutory references are to the Penal Code unless
otherwise indicated.
       The Legislature renumbered section 1170.95 as section
1172.6 effective June 30, 2022. (Stats. 2022, ch. 58, § 10.) For
clarity, we will refer to section 1172.6 throughout this opinion.




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B.    Section 1172.6 Proceedings

       On May 2, 2022, defendant filed a form section 1172.6
petition for resentencing, declaring that: an information was
filed against him that allowed the prosecution to proceed under a
theory of felony murder, murder under the natural and probable
consequences doctrine, or murder under another theory by which
malice was imputed to him based solely on his participation in a
crime; he accepted a plea offer in lieu of a trial; and he could not
be convicted of murder under current law.
       On May 11, 2022, the trial court appointed counsel for
defendant.
       On April 13, 2023, the District Attorney opposed
defendant’s petition, arguing that defendant was “the actual
perpetrator who shot the victim with actual malice” and thus
ineligible for resentencing as a matter of law. The District
Attorney attached as exhibits to its response the transcripts from
the preliminary hearing and plea and sentencing hearing.
       The preliminary hearing transcript included the following
testimony: on July 4, 2000, between 10:50 and 11:00 p.m., a
witness saw the victim, Padilla, engage in an altercation with
defendant, after which the two men shook hands.
       Los Angeles County Sheriff’s Department Deputy Martinez
responded to the scene of a homicide that day and observed
Padilla, who died as a result of multiple gunshot wounds. The
deputy interviewed defendant, who, after being advised of and
waiving his Miranda2 rights, admitted that he had engaged in a
“short fist fight” with Padilla, which ended when the two shook
hands. But about 10 minutes later, defendant became angry,

2     Miranda v. Arizona (1966) 384 U.S. 436.




                                 3
pulled out a gun he was carrying, and shot Padilla. He then rode
away from the scene on his bike.
       The transcript from the change of plea hearing included
defendant’s stipulation “to a factual basis pursuant to the
preliminary hearing transcript[.]”
       On April 14, 2023, the trial court denied defendant’s
petition on the grounds that he had failed to meet his prima facie
burden because the preliminary hearing transcript demonstrated
that he, as the only defendant charged, was the “lone actor.” The
court therefore concluded defendant was ineligible for relief as a
matter of law. Defendant timely appealed.

                       III.   DISCUSSION

       Defendant contends that the trial court improperly relied
on evidence presented at his preliminary hearing to find him
ineligible for resentencing relief as a matter of law.

A.    Applicable Law

      “Senate Bill 1437 was enacted to ‘amend the felony murder
rule and the natural and probable consequences doctrine, as it
relates to murder, to ensure that murder liability is not imposed
on a person who is not the actual killer, did not act with the
intent to kill, or was not a major participant in the underlying
felony who acted with reckless indifference to human life.’ (Stats.
2018, ch. 1015, § 1, subd. (f) [emphasis added].) Substantively,
Senate Bill 1437 accomplishes this by amending section 188,
which defines malice, and section 189, which defines the degrees
of murder, and as now amended, addresses felony murder




                                 4
liability. Senate Bill 1437 also adds . . . section [1172.6], which
allows those ‘convicted of felony murder or murder under a
natural and probable consequences theory . . . [to] file a petition
with the court that sentenced the petitioner to have the
petitioner's murder conviction vacated and to be resentenced on
any remaining counts . . . .’ (§ [1172.6], subd. (a).)
       “An offender may file a petition under section [1172.6]
where all three of the following conditions are met: ‘(1) A
complaint, information, or indictment was filed against the
petitioner that allowed the prosecution to proceed under a theory
of felony murder or murder under the natural and probable
consequences doctrine[;] [¶] (2) The petitioner was convicted of
first degree or second degree murder following a trial or accepted
a plea offer in lieu of a trial at which the petitioner could be
convicted for first degree or second degree murder[;] [¶] [and]
(3) The petitioner could not be convicted of first or second degree
murder because of changes to [s]ection[s] 188 or 189 made
effective January 1, 2019.’ (§ [1172.6], subd. (a)(1)–(3).)” (People
v. Martinez (2019) 31 Cal.App.5th 719, 723.)
       “After a petition for resentencing is filed, the trial court
must . . . determine whether the defendant has made a prima
facie showing of entitlement to relief under section [1172.6].”
(People v. Davenport (2021) 71 Cal.App.5th 476, 480.) “The
record of conviction will necessarily inform the trial court’s prima
facie inquiry under section [1172.6], allowing the court to
distinguish petitions with potential merit from those that are
clearly meritless . . . . [¶] While the trial court may look at the
record of conviction after the appointment of counsel to determine
whether a petitioner has made a prima facie case for section
[1172.6] relief, the prima facie inquiry under subdivision (c) is




                                 5
limited . . . . ‘[A] court should not reject the petitioner’s factual
allegations on credibility grounds without first conducting an
evidentiary hearing.’ [Citations.] ‘However, if the record,
including the court’s own documents, “contain[s] facts refuting
the allegations made in the petition,” then “the court is justified
in making a credibility determination adverse to the petitioner.”’”
(People v. Lewis (2021) 11 Cal.5th 952, 971.) “In reviewing any
part of the record of conviction at this preliminary juncture, a
trial court should not engage in ‘factfinding involving the
weighing of evidence or the exercise of discretion.’ [Citation.] . . .
[T]he ‘prima facie bar was intentionally and correctly set very
low.’” (Id. at p. 972.) “At the prima facie stage, a court must
accept as true a petitioner’s allegation that he or she could not
currently be convicted of a homicide offense because of changes to
section[s] 188 or 189 made effective January 1, 2019, unless the
allegation is refuted by the record. [Citation.] And this
allegation is not refuted by the record unless the record
conclusively establishes every element of the offense.” (People v.
Curiel (2023) 15 Cal.5th 433, 463.) If the petitioner makes a
prima facie showing of eligibility, the trial court must issue an
order to show cause and hold an evidentiary hearing. (Ibid.)

B.    Analysis

       Defendant made a prima facie showing that he was eligible
for relief that was not refuted by the record as a matter of law.
Because the information charged defendant with the generic
crime of murder, the prosecution could have proceeded on a
theory of murder under the natural and probable consequences
doctrine, felony murder theory, or other imputed malice theory.




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(See § 1172.6, subd. (a)(1); People v. Davenport, supra, 71
Cal.App.5th at p. 484.) Further, defendant declared that he was
convicted of murder following his acceptance of a plea offer in lieu
of a trial, and that he could not presently be convicted of murder
because of changes to sections 188 or 189.
       Although defendant agreed that the preliminary hearing
transcript supplied the factual basis for his guilty plea, reliance
upon facts taken from the preliminary hearing transcript is
“‘impermissible factfinding’ at the prima facie stage . . . .” (People
v. Davenport, supra, 71 Cal.App.5th at p. 482; People v. Estrada
(2024) 101 Cal.App.5th 328, 339.) Moreover, “a stipulation to a
factual basis for a plea is not ‘a binding admission for all
purposes.’ (People v. French (2008) 43 Cal.4th 36, 52.) . . .
Indeed, our Supreme Court has held that stipulation to a factual
basis is distinct from an admission of the truth of the facts recited
as the factual basis. ([Id.] at p. 51.) Accordingly, stipulation to a
factual basis does not conclusively establish the nature of the
conduct underlying a plea.” (People v. Williams (2024) 103
Cal.App.5th 375, 398–399.)
       The trial court therefore erred in denying defendant’s
petition at the prima facie stage.




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                     IV.   DISPOSITION

      The order denying defendant’s section 1172.6 petition is
reversed. The matter is remanded to the superior court with
directions to issue an order to show cause and to thereafter
proceed as required by section 1172.6, subdivision (d).

      NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS



                                          KIM, J.



I concur:




            MOOR, Acting P. J.




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People v. Alberto Hernandez Carbajal
B329953

LEE, J., Dissenting.
      I respectfully dissent. I would affirm the trial court
because the uncontroverted record shows that defendant was
charged as the actual killer who acted alone, thereby refuting his
declaration of eligibility for relief in his form petition. Following
the appointment of counsel, defendant offered nothing that would
undermine this conclusion. Under these circumstances, denial at
the prima facie stage is appropriate and serves the function of
distinguishing petitions with potential merit from those that are
clearly meritless.
      In October 2002, defendant was charged in the information
                                                                1
with the murder of Onell Padilla (Pen. Code, § 187, subd. (1))
with an allegation that he personally and intentionally
discharged a firearm causing Padilla’s death (§ 12022.53, subd.
(d)). The information was filed based on the facts adduced at the
preliminary hearing where an officer testified to defendant’s post-
Miranda admissions; defendant admitted that he and the victim
were in a fist fight that ended peacefully, but about 10 minutes
later his anger overcame him and he shot the victim with a gun
he was carrying. The victim died of multiple gunshot wounds.
No other person was implicated as the actual killer.
       In January 2003, based on a negotiated plea deal,
defendant pled guilty to second degree murder and the People
dismissed the firearm allegation which would have added
25 years to life to his prison sentence. When asked during the


1
      All further statutory references are to the Penal Code.
plea colloquy, “are you pleading because in truth and in fact that
on July 5 of the year 2000 . . . you committed the crime of
murder, committing against the victim in this case, Onell Padilla,
a human being?” defendant answered “yes.” When further asked,
“[d]o you plead guilty to count 1 . . . that on July 5th of the year
2000[,] you murdered Onell Padilla?” defendant answered “[y]es,
I do.” Defendant’s counsel concurred in the plea and stipulated
that the facts contained in the preliminary hearing transcript
supported defendant’s guilty plea. Defendant was sentenced to
15 years to life.
       Nearly 20 years later, defendant petitioned for
resentencing under section 1172.6 by filing a form petition with
the necessary boxes checked under statute but did not support
his petition with a declaration or any other representation of the
facts surrounding Padilla’s killing. The trial court appointed
counsel for defendant. The People filed an opposition to his
resentencing petition, arguing that he was ineligible for relief as
the actual killer, and attaching the preliminary hearing
transcript. As no written response to the People’s briefing was
filed, during the prima facie hearing, the court asked how defense
counsel would like to respond to which counsel replied, “I’m
submitting, your honor.” Then added later, “I would submit on
the paperwork [defendant] submitted having petitioned before
the court and submit that that should be sufficient to make it
past a prima facie hearing.”
       Based on this record, I believe the trial court correctly
determined that defendant failed to make a prima facie showing.
The uncontroverted facts in the record refute defendant’s
conclusory assertion that he could not be convicted today
“because of” the 2019 changes to sections 188 and 189. The




                                 2
preliminary hearing transcript reflects the People’s basis for
charging defendant with murder. (People v. Reed (1996)
13 Cal.4th 217, 223 [the preliminary hearing transcript “reliably
reflect[s] the facts of the offense for which the defendant was
convicted”]; accord People v. Mares (2024) 99 Cal.App.5th 1158,
1167 (Mares), review granted May 1, 2024 (S284232).) The
preliminary hearing transcript contained admissions by
Defendant admissible at trial; defendant admitted that he shot
Padilla with his own gun after a fight and no fact supporting the
existence of another shooter was adduced. Thus, the preliminary
hearing transcript provides no occasion to weigh conflicting
evidence. The uncontroverted facts in the conviction record leave
no room to infer that the People were pursuing a theory under
which anyone other than defendant killed or was involved in the
killing of Padilla. “ ‘[I]f the record, including the court’s own
documents, “contain[s] facts refuting the allegations made in the
petition,” then “the court is justified in making a credibility
determination adverse to the petitioner.” ’ ” (People v. Lewis
(2021) 11 Cal.5th 952, 971 (Lewis).)
       Contrary to defendant’s assertions, we need not weigh the
evidence or credit the truth of the testimony in the preliminary
hearing transcript to conclude that the record of conviction
supports no theory other than that defendant was the actual
killer, acting alone. (Mares, supra, 99 Cal.App.5th at pp. 1167–
1168 [“It does not matter whether any fact offered at the hearing
was correct . . . . No facts [alleged or substantiated by evidence]
support a theory that he was an accomplice to a murder
committed by some other person”]; cf. People v. Estrada (2024)
101 Cal.App.5th 328, 340 [where preliminary hearing transcript
suggested involvement of multiple perpetrators, reliance on




                                 3
transcript to deny a petition at prima facie stage “would require
the court to engage in impermissible factfinding”].) The
preliminary hearing testimony sets forth the factual allegations
upon which the People charged defendant with murder, even if
not agreed to as the factual basis for defendant’s plea. (See
People v. Davenport (2021) 71 Cal.App.5th 476, 483 [prima facie
inquiry is a test of allegations, not of the truth of the allegations
or the credibility of the evidence on which they may rely].)
      The remainder of the record of conviction is consistent with
the People’s theory as evidenced by the preliminary hearing
transcript. The parties stipulated that multiple gunshot wounds
caused Padilla’s death. Defendant was the sole person charged in
the information, and he was charged with murder and the
personal and intentional use of a firearm causing great bodily
injury or death. He pled guilty to second degree murder, and
there is no suggestion in the record of any lesser crimes that
defendant might have aided and abetted nor were any charged.
There is no indication any person other than defendant was
implicated as the actual shooter. Defendant moreover affirmed
that he was pleading guilty because he—not anyone else—
murdered Padilla. Although the conclusory allegations defendant
made by checking the boxes on the form petition might have
otherwise sufficed for a prima facie showing, the record of
conviction (including the preliminary hearing transcript) shows
the actual killer theory as the only theory on which defendant
could have been convicted. In other words, the record forecloses
the possibility that defendant “could not presently be convicted of
murder . . . because of changes” to sections 188 and 189.
(§ 1172.6, subd. (a)(3).)
      For defendant to assert that the changes to sections 188




                                 4
and 189 would make him not guilty under today’s law, he needed
to “assert he would have defended himself with a theory that he
was guilty of assisting some other (heretofore unidentified)
person with some other (heretofore unidentified) crime that
resulted in that person killing the victim.” (Mares, supra,
99 Cal.App.5th at p. 1168.) Defendant made no such assertion in
his petition; he merely checked the box next to the conclusory
statement that he could not be convicted under the changed law.
In opposing the petition, the People observed that the evidence at
the preliminary transcript hearing only showed defendant as the
actual killer. Defendant did not file a reply brief. At the prima
facie hearing, defendant submitted on the People’s argument that
he was the actual killer and asserted only that the filing of his
petition automatically gives rise to an evidentiary hearing.
Moreover, the facts that can be gleaned from the record are
plainly inconsistent with a defense that he was assisting some
other person with a different crime that resulted in that person
killing Padilla. (Cf. People v. Rivera (2021) 62 Cal.App.5th 217,
235 [record showed there were multiple perpetrators and
defendant was not the actual killer, such that record did not
“definitively establish” that defendant was not convicted under
now abrogated theory of murder]; People v. Eynon (2021)
68 Cal.App.5th 967, 978 [where defendant had a codefendant,
pled guilty to murder during commission of robbery, and alleged
in his resentencing petition he was not the actual killer, denial at
prima facie stage was error].) The uncontradicted facts in the
record of conviction “make impossible[, i.e., directly contradict,]
the third allegation” necessary to establish a prima facie case.
Under such circumstances, “[o]ther, significant, contradictory
facts would need to be offered to have a basis to conclude that




                                 5
Senate Bill 1437 could have made a difference in [defendant’s]
decision to plead guilty.” (Mares, supra, 99 Cal.App.5th at
p. 1167.) Defendant has offered none. There is thus no need for
an evidentiary hearing.
       This conclusion comports with the Lewis court’s affirmation
that “[t]he record of conviction will necessarily inform the trial
court’s prima facie inquiry . . . allowing the court to distinguish
petitions with potential merit from those that are clearly
meritless. This is consistent with the statute’s overall purpose:
to ensure that murder culpability is commensurate with a
person’s actions, while also ensuring that clearly meritless
petitions can be efficiently addressed as part of a single-step
prima facie review process.” (Lewis, supra, 11 Cal.5th at p. 971;
accord People v. Curiel (2023) 15 Cal.5th 433, 460; see People v.
William (2024) 103 Cal.App.5th 375, 407 (dis. opn. of Meehan,
J.).) Because the record forecloses any basis for the People to
have proceeded against defendant on a now abrogated theory of
murder liability, and defendant has not offered alternative facts
upon which the People might have so proceeded, the trial court
correctly denied his resentencing petition at the prima facie
stage.
       For these reasons, I respectfully dissent.



                                                     
                                           LEE, J.





      Judge of the San Bernardino County Superior Court,
assigned by the Chief Justice pursuant to article VI, section 6 of
the California Constitution.




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